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      -GAR ,4. RE8TAINO
      United States Attorney
      District of Arizona
                                                                      II                    MAR 1 1 2025
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      MATTHEW C. CASSELL                                                               CLER 5 IJ S DISTRIC T COU RT
 3    Assistant U.S. Attorney                                             ~v
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                                                                                                                     DEP L, y
      Colorado Bar No. 38157
 4    United States Courthouse
      405 W. Congress Street, Suite 4800
 5    Tucson, Arizona 85701
      Telephone: 520-620-7300       .
 6    Email: Matthew.Cassell@usdoj.gov
      Attorneys for Plaintiff
 7
                                UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF ARIZONA
 9
10      United States of America,                           CR-24-2719-002-TUC-SHR-BGM
11                            Plaintiff,
                                                                    Plea Agreement
12             vs.
13
        Jesus David Casas Guerrero,
14
                              Defendant.
15
16           The United States of America and the defendant, Jesus David Casas Guerrero, agree
17    to the following disposition of this matter:
18                                                   PLEA
19     1.    The defendant agrees to plead guilty to Count Three of the Indictment, which charges
20    the defendant with a violation of Title 18, United States Code, § 554(a), Attempted
21     Smuggling Goods from the United States, a felony offense. Pursuant to Fed. R. Crim. P.
22     l l(c)(l)(A), the United States shall dismiss all remaining counts, if any, at the time of
23    sentencing. The defendant also agrees not to contest the Forfeiture Allegation in the
24    Indictment.
25    III
26
27
28
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 1                                    ELEMENTS OF THE CRIME
 2    2.      The essential elements of Attempted Smuggling Goods from the United States are
 3
      that:
 4
              (a)    The defendant knowingly attempted to export from the United States any
 5
              merchandise, article, or object;
 6
              (b)    The exportation of the merchandise, article, or object was contrary to any law
 7
              or regulation of the United States; and
 8
              (c)    The defendant knew the exportation of the merchandise, article, or object was
 9
              contrary to any law or regulation of the United States.
10
                            STIPULATIONS, TERMS AND AGREEME TS
11
      3.      The defendant understands the guilty plea is conditioned upon the following terms,
12
      stipulations, and requirements:
13
14                                          Maximum Penalties

15            a.     The defendant understands and agrees that the maximum penalty for the

16    offense to which he is pleading are a fine of $250,000, a maximum term of ten (10) years

17    imprisonment, or both, and a maximum term of three (3) years supervised release. A

18    maximum term of probation is five years, including a minimum term of one year if probation

19    is imposed.
20            b.     The defendant agrees to pay a fine unless the defendant establishes the
21    applicability of the exceptions contained in § SE 1.2(e) of the Sentencing Guidelines.
22            c.     Special Assessment: The defendant understands that in accordance with Title
23    18, United States Code, Section 3013 , upon entry of judgment of conviction, there shall be
24    assessed a $100. 00 special assessment for each felony count.
25                                      Immigration Consequences
26    4.      The defendant recognizes that pleading guilty may have consequences with respect
27    to his/her immigration status if the defendant is not a citizen of the United States. Under
28    federal law, a broad range of crimes are removable offenses, including the offense(s) to

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 1     which the defendant is pleading guilty. Removal and other immigration consequences are
 2     the subject of a separate proceeding, however, and the defendant understands that no one,
 3
       including the defendant's attorney or the district court, can predict to a certainty the effect of
 4
       the defendant's conviction on the defendant's immigration status. The defendant
 5
       nevertheless affirms that he/she wants to plead guilty regardless of any immigration
 6
       consequences that this plea may entail, even if the consequence is the defendant's automatic
 7
       removal from the United States.
 8
                                     Agreement Regarding Sentencing:
 9
       5.     Pursuant to Fed. R. Crim. P. 1 l(c)(l)(C) and U.S.S.G. § 2M5.2, the United States and
10
       the defendant stipulate and agree that the defendant's sentence shall not exceed the low
11
       end of the applicable guideline range as calculated under U.S.S.G. § lBl.l(a). The
12
       defendant may withdraw from the plea agreement if he receives a sentence that exceeds the
13
       low end of the applicable guideline range as calculated under U.S.S.G. § lBl.l(a).
14
       6.     The defendant may argue that he had a mitigating role in the offense, pursuant to
15
       U.S.S.G. §3Bl.2, and the government will not withdraw from the agreement if the defendant
16
       makes this argument. If the defendant moves for any other adjustments in Chapters Two,
17
       Three, or Four of the Sentencing Guidelines or any other "departures" from the Sentencing
18
       Guidelines, the government may withdraw from this agreement. If the defendant argues for
19
20     a variance under 18 U.S.C. 3553(a) in support of a sentence, the government may oppose the

21     requested variance. The government, however, will not withdraw from the agreement if the

22     defendant argues for, and the Court grants, a variance.

23     7.     Assets and Financial Responsibility: The defendant shall make a full accounting of

24     all assets in which the defendant has any legal or equitable interest. The defendant shall not

25     (and shall not aid or abet any other party to) sell , hide, waste, spend, or transfer any such
26     assets or property before sentencing, without the prior approval of the United States
27     (provided, however, that no prior approval will be required for routine, day-to-day
28     expenditures). The defendant also expressly authorizes the United States Attorney ' s Office

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 1    to immediately obtain a credit report as to the defendant in order to evaluate the defendant's
 2    ability to satisfy any financial obligation imposed by the Court. The defendant also shall
 3
      make full disclosure of all current and projected assets to the U.S. Probation Office
 4
      immediately and prior to the termination of the defendant's supervised release or probation,
 5
      such disclosures to be shared with the U.S. Attorney's Office, including the Financial
 6
      Litigation Unit, for any purpose. Finally, the defendant shall participate in the Inmate
 7
      Financial Responsibility Program to fulfill all financial obligations due and owing under this
 8
      agreement and the law.
 9
      8.     Acceptance of Responsibility: If the defendant makes full and complete disclosure to
10
      the U.S . Probation Office of the circumstances surrounding the defendant's commission of
11
      the offense, and if the defendant demonstrates an acceptance of responsibility for this offense
12
      up to and including the time of sentencing, the United States will recommend a two-level
13
      reduction in the applicable Sentencing Guidelines offense level pursuant to U.S.S. G. §
14
      3El.l(a). If the defendant has an offense level of 16 or more, the United States will move
15
      the Court for an additional one-level reduction in the applicable Sentencing Guidelines
16
      offense level pursuant to U.S.S.G. § 3El.l(b)
17
      9.     The defendant understands and agrees that this plea agreement contains all the terms,
18
      conditions, and stipulations regarding sentencing. If the defendant requests or if the Court
19
20    authorizes any reduction of sentence not specifically agreed to in writing by the parties, the

21    government may withdraw from the plea agreement.

22     10.   If the Court departs from the terms and conditions set forth in this plea agreement,
23    either party may withdraw. If the Court, after reviewing this plea agreement, concludes any
24    provision is inappropriate, it may reject the plea agreement and allow the defendant an
25    opportunity to withdraw the defendant's guilty plea, all pursuant to Rule ll(c)(5) and Rule
26     1 l(d)(2)(A), Fed. R. Crim. P.
27
28

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 1    11.    The defendant understands that if the defendant violates any of the conditions of the
 2    defendant's supervised release, the supervised release may be revoked. Upon such
 3
      revocation, notwithstanding any other provision of this agreement, the defendant may be
 4
      required to serve an additional term of imprisonment or the defendant's sentence may
 5
      otherwise be altered.
 6
      12.    The defendant and the government agree that this agreement does not in any manner
 7
      restrict the actions of the government in any other district or bind any other United States
 8
      Attorney's Office.
 9
                                Disclosure oflnformation to U.S. Probation:
10
      13.    The defendant understands the government's obligation to provide all information in
11
      its file regarding the defendant to the United States Probation Office. The defendant
12
      understands and agrees to cooperate fully with the United States Probation Office in
13
      providing:
14
             a.     All criminal history information, i.e., all criminal convictions as defined under
15
             the Sentencing Guidelines.
16
             b.     All financial information, i.e., present financial assets or liabilities that relate
17
             to the ability of the defendant to pay a fine or restitution.
18
             C.     All history of drug and alcohol abuse which would warrant a treatment
19
20           condition as part of sentencing.

21           d.     All history of mental illness or conditions which would warrant a treatment

22           condition as part of sentencing.

23                            Forfeiture, Civil, and Administrative Proceedings

24    14.    The defendant agrees to forfeit, and hereby forfeits, all interest in any property that

25    the defendant owns or over which the defendant exercises control, directly or indirectly,

26    specifically, any firearms and ammunition involved in the commission of the offense, and
27    any property constituting an item that was exported or intended to be exported, including the
28    following property: one (1) Walther PPQ 9mm pistol with serial number FCG3466, one (1)

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 1    Beretta M9A3 9mm pistol with serial number B004266Z, two 9mm pistol magazines, and
 2     13 rounds of 9mm ammunition.
 3     15.   The defendant further agrees to waive all interest in any such property in any
 4
      administrative or judicial forfeiture proceeding, whether criminal or civil. The defendant
 5
      agrees to consent to the entry of orders of forfeiture for such property and waives the
 6
      requirements of Federal Rules of Criminal Procedure 32.2 regarding notice of the forfeiture
 7
      in the charging instrument, announcement of the forfeiture at sentencing, and incorporation
 8
      of the forfeiture in the judgment.         The defendant further understands and agrees that
 9
      forfeiture of the property is appropriate and in accordance with Title 18, United States Code,
10
       Section 924( d), Title 28, United States Code, Section 2461 (c), and Title 50, United States
11
      Code, Section 4819( d)(l )(C). The defendant further acknowledges that forfeiture of assets
12
      is part of the sentence that may be imposed in this case and waives any failure by the Court
13
      to advise the defendant of this, pursuant to Federal Rule of Criminal Procedure 11 (b )(1 )(J),
14
      at the time the guilty plea is accepted.
15
       16.   Forfeiture of the defendant' s property shall not be treated as satisfaction of any fine,
16
      restitution, cost of imprisonment, or any other penalty this court may impose upon the
17
      defendant in addition to forfeiture. This agreement does not preclude the United States from
18
      instituting any civil or administrative forfeiture proceedings as may be appropriate now or
19
20    in the future.

21     17.   The defendant clgrees to waive all constitutional and statutory challenges in any

22    manner (including direct appeal, habeas corpus, double jeopardy, or any other means) to any
23    forfeiture imposed as a result of this guilty plea or any pending or completed administrative
24    or civil forfeiture actions, including that the forfeiture constitutes an excessive fine or
25    punishment. The defendant agrees to take all steps as requested by the United States to pass
26    clear title to forfeitable assets to the United States, and to testify truthfully in any judicial
27    forfeiture proceeding.    The defendant acknowledges that all property covered by this
28    agreement is subject to forfeiture as alleged in the Forfeiture Allegation of the Indictment,

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 1    or is substitute property for property otherwise subject to forfeiture, and that no other person
 2    or entity has a legitimate claim to the property listed.
 3
      18.     The defendant agrees not to file a claim, and to withdraw any previously filed claims,
 4
      to any of the listed property in any civil, administrative, or judicial proceeding which may
 5
      be initiated. The defendant further agrees not to contest civil, administrative, or judicial
 6
      forfeiture of the listed property. The defendant agrees to waive any right to notice of any
 7
      forfeiture proceeding involving this property and agrees not to assist others in filing a claim
 8
      in any forfeiture proceeding involving this property.
 9
      19.     The government reserves its right to proceed against any remaining property not
10
      identified either in this agreement or in any civil actions which are being resolved along with
11
      this plea of guilty, including any property in which the defendant has any interest or control,
12
      if said assets, real or personal, tangible or intangible are subject to forfeiture.
13
      20.     The defendant hereby waives and agrees to hold the government and its agents and
14
      employees harmless from any and all claims whatsoever in connection with the seizure,
15
      forfeiture, and disposal of the property described above. Without limitation, the defendant
16
      understands and agrees that by virtue of this plea of guilty, the defendant will waive any
17
      rights or cause of action that the defendant might otherwise have had to claim that the
18
      defendant is a "substantially prevailing party" for the purpose of recovery of attorney fees
19
20    and other litigation costs in any related civil forfeiture proceeding pursuant to 28 U.S.C. §

21    2465(b )(1 ).

22    21.    Nothing m this agreement shall be construed to protect the defendant from
23    administrative or civil forfeiture proceedings or prohibit the United States from proceeding
24    with and/or initiating an action for civil forfeiture.
25                                      Reinstitution of Prosecution
26    22.    If the defendant' s guilty plea is rejected, withdrawn, vacated, or reversed by any court
27    in a later proceeding, the government will be free to prosecute the defendant for all charges
28    as to which it has knowledge, and any charges that have been dismissed because of this plea

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 1    agreement will be automatically reinstated. In such event, the defendant waives any
 2    objections, motions, or defenses based upon the Speedy Trial Act or the Sixth Amendment
 3    to the Constitution as to the delay occasioned by the later proceedings.
 4
                                 Waiver of Defenses and Appeal Rights:
 5
      23.    Provided the defendant receives a sentence in accordance with this plea agreement,
 6
      the defendant waives (1) any and all motions, defenses, probable cause determinations, and
 7
      objections that the defendant could assert to the indictment or information; and (2) any right
 8
      to file an appeal, any collateral attack, and any other writ or motion that challenges the
 9
      conviction, an order of restitution or forfeiture, the entry of judgment against the defendant,
10
      or any aspect of the defendant's sentencing-including the manner in which the sentence is
11
      determined, the determination whether defendant qualifies for "safety valve" (U.S.S.G. §
12
      5Cl.2 and 18 U.S.C. § 3553(f)), and any sentencing guideline determinations, including the
13
      district court's determination of the criminal history category. The sentence is in accordance
14
      with this agreement if the sentence imposed does not exceed the low end of the sentencing
15
      guidelines range as calculated under U.S.S.G. § lBl.l(a). The defendant further waives: (1)
16
      any right to appeal the Court's entry of judgment against the defendant; (2) any right to appeal
17
      the imposition of sentence upon defendant under Title 18, United States Code, Section 3742
18
      (sentence appeals); (3) any right to appeal the district court's refusal to grant a requested
19
20    variance; (4) any right to collaterally attack defendant's conviction and sentence under Title

21    28, United States Code, Section 2255, or any other collateral attack; and (5) any right to file

22    a motion for modification of sentence, including under Title 18, United States Code, Section

23    3582(c) (except for the right to file a compassionate release motion under 18 U.S.C. §

24    3582(c)(l)(A) and to appeal the denial of such a motion). The defendant acknowledges that

25    this waiver shall result in the dismissal of any appeal or collateral attack the defendant might

26    file challenging his/her conviction or sentence in this case. If the defendant files a notice of
27    appeal or a habeas petition, notwithstanding this agreement, defendant agrees that this case
28    shall, upon motion of the government, be remanded to the district court to determine whether

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 1    defendant is in breach of this agreement and, if so, to permit the government to withdraw
 2    from the plea agreement. This waiver shall not be construed to bar an otherwise-preserved
 3    claim of ineffective assistance of counsel or of "prosecutorial misconduct" (as that term is
 4
      defined by Section II.B of Ariz. Ethics Op. 15-01 (2015)).
 5
                                                Plea Addendum
 6
      24.       This written plea agreement, and any written addenda filed as attachments to this plea
 7
      agreement, contain all the terms and conditions of the plea. Any additional agreements, if
 8
      any such agreements exist, shall be recorded in separate documents and may be filed with
 9
      the Court under seal. Accordingly, additional agreements, if any, may not be in the public
10
      record.
11
                     WAIVER OF DEFENDANT'S RIGHTS AND FACTUAL BASIS
12
                                               Waiver of Rights
13
                I have read each of the provisions of the entire plea agreement with the assistance of
14
      counsel and understand its provisions. I have discussed the case and my constitutional and
15
       other rights with my attorney. I understand that by entering my plea of guilty I will be giving
16
      up my rights to plead not guilty, to trial by jury, to confront, cross-examine, and compel the
17
      attendance of witnesses, to present evidence in my defense, to remain silent and refuse to be
18
      a witness against myself by asserting my privilege against self-incrimination -- all with the
19
20     assistance of counsel -- and to be presumed innocent until proven guilty beyond a reasonable

21    doubt.

22              I agree to enter my guilty plea as indicated above on the terms and conditions set forth

23    in this agreement.

24              I have been advised by my attorney of the nature of the charges to which I am entering

25     my guilty plea. I have further been advised by my attorney of the nature and range of the

26    possible sentence.
27              My guilty plea is not the result of force, threats, assurances or promises other than the
28    promises contained in this agreement. I agree to the provisions of this agreement as a

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 1     voluntary act on my part, rather than at the direction of or because of the recommendation
 2     of any other person, and I agree to be bound according to its provisions.
 3            I fully understand that, if I am granted probation or placed on supervised release by
 4
       the court, the terms and conditions of such probation/supervised release are subject to
 5
       modification at any time. I further understand that, if I violate any of the conditions of my
 6
       probation/supervised release, my probation/supervised release may be revoked and upon
 7
       such revocation, notwithstanding any other provision of this agreement, I may be required
 8
       to serve an additional term of imprisonment or my sentence may otherwise be altered. I agree
 9
       that any Guidelines Range referred to herein or discussed with my attorney is not binding on
10
       the court and is merely an estimate.
11
              I agree that this written plea agreement contains all the terms and conditions of my
12
       plea and that promises made by anyone (including my attorney), and specifically any
13
       predictions as to the guideline range applicable, that are not contained within this written
14
       plea agreement are without force and effect and are null and void.
15
              I am satisfied that my defense attorney has represented me in a competent manner.
16
              I am fully capable of understanding the terms and conditions of this plea agreement.
17
       I am not now on or under the influence of any drug, medication, liquor, or other intoxicant
18
       or depressant, which would impair my ability to fully understand the terms and conditions
19
20     of this plea agreement.

21                                            Factual Basis

22            I agree that the following facts accurately describe my conduct in connection with the

23     offense to which I am pleading guilty; and, that if this matter were to proceed to trial, the

24     government could prove the elements of the offense beyond a reasonable doubt based on the

25     following facts:

26
              On April 17, 2024, in the District of Arizona, I, Jesus David Casas Guerrero,
27            attempted to exit the United States and enter Mexico through the outbound
              vehicle lane of the DeConcini Port of Entry in Nogales, Arizona. Officers
28            discovered two Pioneer Arms Corp. 7.62x39mm rifles, one Ruger 380 pistol,

                                                   10
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 1            one Colt Government Model .22 caliber pistol, and one Glock 19 9mm pistol.
              Each of the firearms discovered by the officers contained an accompanying
 2            magazine.

 3            I was recruited by an individual named "Bryan" to take the prohibited items
              into Mexico. "Bryan" organized and directed the delivery of the prohibited
 4            items into Mexico. I intended to take the prohibited items into Mexico. I knew
              it was unlawful to take the prohibited items into Mexico, attempted to conceal
 5            them from detection at the Port of Entry, and denied having any such items
              when giving a declaration to customs officers at the Port of Entry.
 6
              The prohibited items that I smuggled and intended to export to Mexico are
 7            designated on the United States Commerce Control List as prohibited by law
              for export from the United States into Mexico without a vahd license. Neither
 8            I nor any other individual involved in the attempted export of the prohibited
              items had a license or any other lawful authority to export the-items from the
 9            United States into Mexico.
10
11
              D~/ ( / /
                          95                      JES£CASAS GUERRERO
12
                                                  Defendant
13
14                              DEFENSE ATTORNEY'S APPROVAL

15            I have discussed this case and the plea agreement with my client, in detail and have
16     advised the defendant of all matters within the scope of Fed. R. Crim. P. 11 , the constitutional
17     and other rights of an accused, the factual basis for and the nature of the offense to which the
18     guilty plea will be entered, possible defenses, and the consequences of the guilty plea
19     including the maximum statutory sentence possible and Defendant's waiver of her right to
20     appeal. I have further discussed the sentencing guideline concept with the defendant. No
21     assurances, promises, or representations have been given to me or to the defendant by the
22     United States or by any of its representatives which are not contained in this written
23     agreement.
24            I concur in the entry of the plea as indicated above and on the terms and conditions
25
       set forth in this agreement as in the best interests of my client. I agree to make a bona fide
26
       II I
27
28

                                                     11
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 1     effort to ensure that the guilty plea is entered in accordance with all the requirements of Fed.
 2
       R. Crim. P. 11.
 3
 4
 5                   Date                                TREVOR R. HILL
                                                         Attorney for the Defendant
 6
 7
                                    GOVERNMENT'S APPROVAL
 8
              I have reviewed this matter and the plea agreement. I agree on behalf of the United
 9
       States that the terms and conditions set forth are appropriate and are in the best interests of
10
      justice.
11
                                                         ~ft       CD""- RC:. 14 A.1 6,.).l...
                                                         C,J\Jt'i :zf RESI#iftsfQ
12
                                                         United States Attorney
13
14
15                   Date~     I                         MATTHEW C. CASSELL
                                                         Assistant U.S. Attorney
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